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                    IN THE UNITED STATES DISTRICT COURT

                FOR THE DISTRICT OF ALASKA AT ANCHORAGE


KEITH C. JOHNSON,      )
                       )
          Plaintiff,   )                  Case No. 3:14-cv-00095-SLG
                       )
      vs.              )
                       )                  JOINT NOTICE OF SETTLEMENT
RLI INSURANCE COMPANY, )
                       )
          Defendant.   )
                       )

       The Parties hereby notify the Court that they have reached a settlement of this

matter, which will resolve the pending motion by RLI Insurance Company for fees and

costs, as well as the Ninth Circuit appeal. The Parties jointly request that the Court hold

in abeyance the pending motion of RLI Insurance Company, for a period of 30 days.


                                          CLAYTON & DIEMER, LLC
                                          Lawyers for Plaintiff Keith C. Johnson

DATED: July 27, 2016                      By:    s/Alfred Clayton, Jr.
                                                 Alfred Clayton, Jr.
                                                 ABA No. 9111079




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                                                    MORISON & PROUGH, LLP
                                                    Attorneys for Defendant

DATED: July 27, 2016                                By:   s/Michael Prough (w/consent)
                                                          Michael Dale Prough
                                                          CA Bar No. 168741



         CERTIFICATE OF SERVICE

I hereby certify that on this 27th day of July,
2016, a copy of the foregoing document was served
electronically on:

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s/Alfred Clayton, Jr.




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